Case 1:17-cv-01151-GMS Document 53 Filed 03/19/18 Page 1 of 2 PageID #: 364




                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF DELAWARE

SUZANNE DAKESSIAN,                              :
                                                :
     Plaintiff,                                 :
                                                :
     v.                                         :    NO. 1:17-CV-01151 GMS
                                                :
WILLIAM SCHELL, IV;                             :
DOMINICK DAFFNER                                :
WORLD CHAMPIONSHIP PUNKIN’                      :
CHUNKIN’INC.; PUNKIN CHUNKIN                    :
ASSOCIATION; FRANK PAYTON;                      :
FRANK SHADE; TERRY BREWSTER;                    :
DAVID QUIGLEY;                                  :
MCCULLEY, EASTHAM & ASSOC., INC.                :
WHEATLEY FARMS, INC.;                           :
E. DALE WHEATLEY;                               :
JEFFREY T. WHEATLEY;                            :
DISCOVERY COMMUNICATIONS, INC.;                 :
STATE OF DELAWARE and                           :
the STATE OF DELAWARE                           :
DEPARTMENT OF NATURAL                           :
RESOURCES AND ENVIRONMENTAL                     :
CONTROL,                                        :
                                                :
     Defendants.                                :
                          NOTICE OF SERVICE

     On March 19, 2018, I certify that I served Defendants State of Delaware and

Department of Natural Resources and Environmental Control’s Response to

Plaintiff’s First Set of Requests for Production of Documents and Things and

documents bates labeled DNREC 83 – DNREC 221 via e-mail upon the following:
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                                            STATE OF DELAWARE
                                            DEPARTMENT OF JUSTICE

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